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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                     Case Nos.: 3:08cr22/LAC/EMT
                                                   3:13cv577/LAC/EMT
WARREN K. MUMPOWER


                     REPORT AND RECOMMENDATION

         This matter came before the court on Defendant Warren K. Mumpower’s

“Motion by a Person in Federal Custody to Vacate, Set Aside, or Correct Sentence

under 28 U.S.C. § 2255” and memorandum in support thereof (ECF No. 1040). The

Government responded in opposition (ECF No. 1085), and Defendant filed a reply

(ECF No. 1116). The case was referred to the undersigned for the issuance of all

preliminary orders and any recommendations to the district court regarding

dispositive matters. See N.D. Fla. Loc. R. 72.2; see also 28 U.S.C. ' 636(b) and

Fed. R. Civ. P. 72(b).    After a careful review of the record and the arguments

presented, it is the opinion of the undersigned that Defendant has not raised any issue

requiring an evidentiary hearing and that the ' 2255 motion should be denied. See

Rules 8(a) and (b), Rules Governing Section 2255 Cases.
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                                     BACKGROUND

       Defendant and thirteen others were charged in a forty-count superseding

indictment with various charges related to the international distribution of child

pornography via the internet (ECF No. 78; Defendant Mumpower charged in Counts

1, 2, 12, 22, 35, 40). After a six-day jury trial, Defendant was convicted of engaging

in a child exploitation enterprise (“CEE”), in violation of 18 U.S.C. § 2252A(g)

(Count 1); conspiring to advertise, transport/ship, receive, and possess child

pornography, and to obstruct an official proceeding, in violation of 18 U.S.C. §§

371, 1512(k), 2251(e), and 2252A(b) (Count 2); receiving and attempting to child

pornography, in violation of 18 U.S.C. § 2252A(a)(2) and 2 (Count 35); obstructing

justice, in violation of 18 U.S.C. § 1512(c)(2) (Count 40); advertising the exchange

of child pornography, in violation of 18 U.S.C. § 2251(d)(1) and (2) (Count 12); and

knowingly transporting and shipping child pornography, in violation of 18 U.S.C.

§ 2252A(a)(1) and 2 (Count 22) (ECF Nos. 78, 480, 793). The court sentenced

Defendant to a term of life imprisonment as to Count 1; 600 months as to Counts 2

and 12; 480 months as to Counts 22 and 35; and 240 months as to Count 40, with

each count to run concurrently with the others (ECF No. 793 at 3). Defendant

appealed, and the Eleventh Circuit vacated each Defendant's convictions for

conspiracy and statutory obstruction of justice in Counts 2 and 40. United States v.
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McGarity, 669 F.3d 1218, 1229 (11th Cir. 2012). The opinion stated no fewer than

five times that the evidence against the Defendants, which included their own

confessions, 1 was nothing short of “overwhelming.” Id. at 1242, 1243, 1246, 1263.

The Supreme Court denied certiorari (ECF No. 931), and on August 20, 2012, the

district court entered a second amended judgment sentencing Defendant to a term of

life imprisonment on Count 1, 600 months on Count 12, and 480 months as to Counts

22 and 35, to run concurrently (ECF No. 921). Defendant timely filed the instant

motion to vacate, raising 79 claims for relief (ECF Nos. 1040).

       As noted by the Government, the facts of this case are set forth in the

superseding indictment, the transcripts of trial and sentencing, the Pre-Sentence

Investigation Report (“PSR”), the second amended judgment and statement of

reasons, and the Eleventh Circuit’s opinion on appeal (ECF Nos. 78, 720–725, 812,

903, 921–922, 1194, 1207). Therefore, the undersigned will provide an abbreviated

recitation of the facts here, and relay additional specific facts only as needed for

resolution of claims raised in the instant motion.

       As set forth in the Eleventh Circuit’s opinion, in 2005 an informant notified

Constable Brenden Power of the Queensland, Australia Police Service of the


       1
         Defendant denies in his reply memorandum that actually confessed and appears to
profess his innocence of the charges in this case (ECF No. 1116 at 11).

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existence of a computer ring of child pornography users that operated through

internet newsgroups. The informant revealed which newsgroups the ring was

using, the ring’s encryption method, and the informant’s nickname within the ring,

which enabled Constable Power to infiltrate the ring. Constable Power began

monitoring the ring and learned of the sophisticated nature of the ring, including

controls on memberships and complicated methods of communicating and posting

using encryption. Members uploaded scrambled and encrypted binary files in one

newsgroup, then would place a message in another newsgroup advising that the

upload was there with instructions.              Other members could then download the

encrypted message, decrypt and read it, and follow the instructions contained therein

to locate and download the files containing child pornography. The group masked

headings when posting files and messages and frequently changed nicknames as a

further means of avoiding detection.

       After realizing that the ring was operating internationally, Constable Power

traveled to the United States in 2006 where he continued his investigation in

conjunction with the FBI’s Innocent Images Unit. The joint investigation continued

for another year, during which time law enforcement was able to identify 22

members of the child pornography ring, 14 of whom were people of special interest.

Between August 31, 2006 and December 15, 2007, law enforcement detected the
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upload of over 400,000 images and more than 1,000 videos by ring members. Not

all of the images and videos portrayed child pornography, but many of them depicted

the sexual abuse of minors in graphic and grotesque detail.

       On February 28, 2008, law enforcement agents simultaneously executed

search warrants at the residents of the Defendants in this case. All Defendants

except for one confessed his involvement with child pornography and with the child

pornography ring in question. Encryption keys of the type provided to Constable

Power to access the pertinent newsgroup postings were found in the possession of

all but one of the Defendants, including Defendant Mumpower, and after being taken

into custody and housed together six of the Defendants, including Defendant

Mumpower admitted to the others his membership in the child pornography ring.

United States v. McGarity, 669 F.3d 1218, 1229–31 (11th Cir. 2012).

                                   LEGAL ANALYSIS

General Standard of Review

       Collateral review is not a substitute for direct appeal, and therefore the

grounds for collateral attack on final judgments pursuant to ' 2255 are extremely

limited. A prisoner is entitled to relief under section 2255 if the court imposed a

sentence that (1) violated the Constitution or laws of the United States, (2) exceeded

its jurisdiction, (3) exceeded the maximum authorized by law, or (4) is otherwise
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subject to collateral attack. See 28 U.S.C. ' 2255(a); McKay v. United States, 657

F.3d 1190, 1194 n.8 (11th Cir. 2011). ARelief under 28 U.S.C. ' 2255 >is reserved

for transgressions of constitutional rights and for that narrow compass of other injury

that could not have been raised in direct appeal and would, if condoned, result in a

complete miscarriage of justice.=@         Lynn v. United States, 365 F.3d 1225, 1232

(11th Cir. 2004) (citations omitted).            The Afundamental miscarriage of justice@

exception recognized in Murray v. Carrier, 477 U.S. 478, 496 (1986), provides that

it must be shown that the alleged constitutional violation Ahas probably resulted in

the conviction of one who is actually innocent . . . .@

       The law is well established that a district court need not reconsider issues

raised in a section 2255 motion which have been resolved on direct appeal. Rozier

v. United States, 701 F.3d 681, 684 (11th Cir. 2012); United States v. Nyhuis, 211

F.3d 1340, 1343 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th

Cir. 1994).    Once a matter has been decided adversely to a defendant on direct

appeal, it cannot be re-litigated in a collateral attack under section 2255. Nyhuis,

211 F.3d at 1343 (quotation omitted).             Broad discretion is afforded to a court=s

determination of whether a particular claim has been previously raised. Sanders v.

United States, 373 U.S. 1, 16 (1963) (Aidentical grounds may often be proved by



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different factual allegations . . . or supported by different legal arguments . . . or

couched in different language . . . or vary in immaterial respects@).

       Because a motion to vacate under section 2255 is not a substitute for direct

appeal, issues which could have been raised on direct appeal are generally not

actionable in a section 2255 motion and will be considered procedurally barred.

Lynn, 365 F.3d at 1234B35; Bousley v. United States, 523 U.S. 614, 621 (1998);

McKay v. United States, 657 F.3d 1190, 1195 (11th Cir. 2011).              An issue is

A>available= on direct appeal when its merits can be reviewed without further factual

development.@      Lynn, 365 F.3d at 1232 n.14 (quoting Mills, 36 F.3d at 1055).

Absent a showing that the ground of error was unavailable on direct appeal, a court

may not consider the ground in a section 2255 motion unless the defendant

establishes (1) cause for not raising the ground on direct appeal, and (2) actual

prejudice resulting from the alleged error, that is, alternatively, that he is Aactually

innocent.@ Lynn, 365 F.3d at 1234; Bousley, 523 U.S. at 622 (citations omitted).

To show cause for procedural default, a defendant must show that Asome objective

factor external to the defense prevented [him] or his counsel from raising his claims

on direct appeal and that this factor cannot be fairly attributable to [defendant=s] own




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conduct.@ Lynn, 365 F.3d at 1235. A meritorious claim of ineffective assistance

of counsel can constitute cause. See Nyhuis, 211 F.3d at 1344.

       An evidentiary hearing is unnecessary when Athe motion and files and records

conclusively show that the prisoner is entitled to no relief.@           See 28 U.S.C.

' 2255(b); Rosin v. United States, 786 F.3d 873, 877 (11th Cir. 2015); Gordon v.

United States, 518 F.3d 1291, 1301 (11th Cir. 2008).               Not every claim of

ineffective assistance of counsel warrants an evidentiary hearing.         Gordon, 518

F.3d at 1301 (citing Vick v. United States, 730 F.2d 707, 708 (11th Cir. 1984)). To

be entitled to a hearing, a defendant must allege facts that, if true would prove he is

entitled to relief. See Hernandez v. United States, 778 F.3d 1230, 1234 (11th Cir.

2015).     A hearing is not required on frivolous claims, conclusory allegations

unsupported by specifics, or contentions that are wholly unsupported by the record.

See WinthropBRedin v. United States, 767 F.3d 1210, 1216 (11th Cir. 2014)

(explaining that Aa district court need not hold a hearing if the allegations [in a ' 2255

motion] are . . . based upon unsupported generalizations@) (internal quotation marks

omitted); Peoples v. Campbell, 377 F.3d 1208, 1237 (11th Cir. 2004).                Even

affidavits that amount to nothing more than conclusory allegations do not warrant a

hearing. Lynn, 365 F.3d at 1239. Finally, disputes involving purely legal issues

can be resolved by the court without a hearing.
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       In this case, the Government argues that nearly all of Defendant’s substantive

claims are procedurally barred or are otherwise not properly before the court on

collateral review. Taken as stand-alone claims, the Government’s assertions are

largely well-taken.        However, Defendant also raises claims of ineffective

assistance of both trial and appellate counsel in his motion, which may defeat the

procedural bar. In the interest of brevity, the court will not reiterate the standard

for, or engage in a discussion of, the procedural bar on each of Defendant’s

substantive claims, recognizing that absent the ineffective assistance of counsel

claim, they are likely not cognizable on collateral review.

       1.   Infirmity of Superseding Indictment

       In Grounds 1 and 19, Defendant challenges different aspects of the

superseding indictment. First, Defendant claims that the superseding indictment is

faulty as it fails to state with particularity the cause and circumstances of the offense

conduct or the identity of the co-Defendants, such that he was unable to prepare a

meaningful defense. Defendant acknowledges that the defense filed two motions

for Bills of Particulars (ECF Nos. 192, 321), which he adopted (ECF No. 362), and

that the motions were denied (ECF No. 377). Defendant’s disagreement with the




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district court’s decision and his desire to relitigate this issue herein does not entitle

him to relief.

       In Ground 19, he claims that Count 2 was a duplicitous count as applied. In

light of the fact that each Defendant’s conviction on Count 2 was vacated on appeal,

this claim is moot.

       2.   Infirmity of Venue

       Defendant contends in Ground 6 that the Government failed to connect the

substantive counts to the Northern District of Florida or request a venue jury

instruction on all counts, and thus failed to establish the court’s jurisdiction. He

argues that Counts 12, 22, 35, and 40 charged him with committing substantive

offenses at his residence in Spokane, Washington.

       Count 1 in this case charged Defendant with conspiracy.         “In a conspiracy

case, venue is proper in any district where an overt act was committed in furtherance

of the conspiracy.”      United States v. Smith, 918 F.2d 1551, 1557 (11th Cir. 1990)

(citing Hyde v. United States, 225 U.S. 347, 363 (1912); United States v. Long, 866

F.2d 402, 407 (11th Cir. 1989)); United States v. Bradley, 644 F.3d 1213, 1254 (11th

Cir. 2011). The overt act need not be committed by a defendant in the case; the

acts of accomplices and unindicted co-conspirators can also expose the defendant to

jurisdiction. See United States v. Matthews, 168 F.3d 1234, 1246 (11th Cir. 1999).
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Furthermore, a defendant who is charged as a conspirator is vicariously responsible

for the acts of any co-conspirator taken in furtherance of the conspiracy as well as

foreseeable consequences thereof.          Bradley, 644 F.3d at 1254–55; Pinkerton v.

United States, 328 U.S. 640, 647–48 (1946); United States v. Silvestri, 409 F.3d

1311, 1335 (11th Cir. 2005). Where an out-of-district defendant aided or abetted a

principal who commits a substantive crime in the district of prosecution, venue lies

in the district of prosecution as to both the aider and abetter and the principal.

United States v. Long, 866 F.2d 402, 406–07 (11th Cir. 1989). Finally, offenses

begun in one district and completed in another, or committed in more than one

district, may be prosecuted in any district in which such offense was begun,

continued, or completed. 18 U.S.C. § 3237(a); United States v. McCulley, 673

F.2d 346, 350 (11th Cir. 1982). Thus, acts by Defendant or his co-conspirators

within the Northern District of Florida would be sufficient to establish jurisdiction

in this district. As noted by the Government, there was evidence at trial linking

Defendant to co-Defendant James Freeman in the Northern District of Florida, to

wit, items that were forensically recovered from Defendant’s digital media and were

electronically linked to co-Defendant and Florida resident James Freeman’s postings




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and one of his screen names (see ECF No. 1085, Exh. C; Gov. Trial Exhibits WM-

29D, 29E).

       3. Insufficient Evidence at Trial and Variance from Indictment

       Defendant raises nine claims related to sufficiency of the evidence and/or

variance from the indictment. The claims raised in Grounds 18, 20, and 24, which

relate to Counts 2 and 40 of the superseding indictment are, of course, moot, as

Defendant’s convictions on these counts were overturned on appeal. McGarity,

669 F.3d at 1229. In Grounds 8, 9, 13, and 15, Defendant claims that the evidence

was insufficient to sustain his conviction on Counts 12, 35, and 22; in Ground 16,

he further asserts that there was in improper variance with respect to Count 22 of the

indictment; and in Ground 22, he asserts that there was insufficient evidence to

support his conviction on Count 1.

       Even if these claims were not procedurally barred, they are without merit.

To the extent Defendant suggests that the Government was limited in its presentation

of evidence at trial to only the evidence it presented to the grand jury, the assertion

is unfounded. As to Defendant’s challenges to the sufficiency of the evidence, the

Government notes that it presented a wealth of trial evidence against Defendant

regarding his group postings and his confession, which is also set forth in the PSR

(ECF No. 1207 at 18–19), and forensic evidence in his possession that directly linked
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him to the criminal enterprise. As recognized by the Eleventh Circuit on appeal,

the overwhelming evidence at trial supported his guilt of these charges.

Defendant’s suggestion that a conviction violates his First Amendment rights is

without merit, as child pornography is not entitled to First Amendment protection.

See New York v. Ferber, 458 U.S. 747 (1982); Ashcroft v. The Free Speech

Coalition, 535 U.S. 234 (2002). Thus, even if cognizable, no relief is warranted on

any of these claims.

       4. Improper Testimony/Evidence Utilized at Trial

       In Grounds 11, 34 through 41, and 44, Defendant raises challenges to the

evidence or testimony adduced at trial, arguing that evidence was improperly

introduced, and assailing the credibility of the testimony presented. In light of the

procedural posture of this case, such arguments are not properly before the court.

First, Defendant contends in Ground 11 that Special Agent Cordero committed

perjury when she stated that a particular post had been made by him.       An error of

fact during a witness’s testimony does not rise to the level of a constitutional

violation. He further asserts that Agent Cordero and the Government knew beyond

a doubt within days of his arrest that co-Defendant Berger was not actually the

person with the online identity “Box of Rocks,” but nonetheless presented testimony

to the contrary (ECF No. 1040-1 at 27–28). The Government, in turn, asserts that
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Defendant is knowingly misleading the court.          In any event Defendant’s bare

assertion is not conclusive proof of a constitutional violation.

       In Ground 34, Defendant maintains that the introduction of subpoena returns

as business records violated the Fifth and Sixth Amendments. Defendant refers to

subpoenas to Giganews, Inc., a news service provider used by him and others. He

asserts that the subpoenas required that Giganews provide account information and

logs for various message holders, and that production of the requested information

required decryption of a coded string placed into the header by the server. As a

result of the manner in which the records were introduced, Defendant contends that

he was unable to cross-examine the individual who decrypted the records and

establish the authenticity of the information obtained after decryption. It appears

that the records in question were the subject of a pre-trial motion in limine. Only

co-Defendant Freeman objected to their admission. The court granted the

Government’s motion in limine before trial and determined that these records would

be admissible (ECF Nos. 393, 440). Furthermore, a challenge on appeal to the

admissibility of these records was rejected as meritless and not warranting




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discussion.     McGarity, 669 F.3d at 1229 n.6.         Defendant has not shown a

constitutional violation.

       Grounds 35 and 36 relate to the Government’s alleged solicitation of

incredible testimony as to facts the witnesses could not have known to be true and

were thus either perjury or impermissible hearsay. Constable Power and Special

Agent Cordero were subject to cross-examination at trial. If they, or any other

witness, testified in error about some aspect of the operation of the conspiracy, this

error cannot, without more, be attributed to nefarious intent on the part of the

Government, and does not entitle Defendant to § 2255 relief. (See ECF No. 1040

at 34–35, citing alleged testimonial errors).

       Defendant contends in Ground 37 that the introduction of the prosecutor’s

work-product as “evidence” in the case was prejudicial to him. Specifically he

complains that charts listing nicknames and groups in the conspiracy and

summarizing evidence should not have been admitted. The Government argues that

summary charts are admissible pursuant to Federal Rule of Evidence 1006, although

Defendant correctly notes that this rule provides for the use of summaries to “prove

the content of voluminous writings, recordings or photographs that cannot be

conveniently examined in court.” Still, the court does not find that Defendant has

shown that the admission of the summary exhibits was in violation of his
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constitutional rights or somehow altered the outcome of the proceedings against him.

See, e.g., United States v. Francis, 131 F.3d 1452, 1457–59 (11th Cir. 1997)

(discussing approved use of summaries of evidence).

       In Ground 38, Defendant complains that when Special Agent Cordero testified

about items seized from Defendant, she improperly testified as to a legal conclusion,

that many of the items seized were “child pornography” (see ECF No. 723 at 155,

158; ECF No. 724 at 24, 25). The Government notes the use of the term “child

pornography” was subject to cross-examination, closing argument, and instructions

by the court. The jurors were instructed on the definition of child pornography

(ECF No. 469), and were thus able to draw their own conclusion about the exhibits

they viewed.      Perhaps more significantly, the undersigned finds that the brief

references complained of did not render the proceedings constitutionally infirm in

light of the overwhelming evidence against Defendant, including actual video and

photographic evidence.

       In Ground 39, Defendant asserts that the Government’s use of a large screen

to broadcast the images and videos to the court and the jury violated his rights. He

asserts that the images and videos were highly inflammatory and prejudicial, and

maintains that the Defendants had stipulated that they contained child pornography.

The Government correctly notes that the screen used at trial was the district court’s
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evidence presentation system, and that there was no other screen in the courtroom

that would have allowed the jury to see the evidence. Although Defendant claims

that the Government had the option to use still photos, presentation of the video

evidence obviously required a different form of presentation. Binding Eleventh

Circuit precedent holds that the introduction into evidence of images containing

child pornography is proper, notwithstanding a defendant’s stipulation to that fact.

United States v. Alfaro-Moncada, 607 F.3d 720, 734 (11th Cir. 2010). A criminal

defendant “may not stipulate or admit his way out of the full evidentiary force of the

case as the Government chooses to present it.” Old Chief v. United States, 519 U.S.

172, 186–87 (1997). There was no constitutional error in the admission of the video

and still evidence, and the Government presented only a fraction of the available

images. Furthermore, as to Ground 44—a complaint regarding the presentation of

prejudicial evidence regarding “known victims”—this evidence was necessary

because many Defendants did not want to stipulate that the images and videos were

of “real” children (ECF No. 763 at 5; ECF No. 724 at 35).

       In Ground 40, Defendant argues that his right to a fair trial was tainted by the

prejudicial spillover from the introduction of evidence against his co-Defendants.

It is a well-settled principle that it is preferable for persons who are charged together

to also be tried together, particularly in conspiracy cases. United States v. Green,
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818 F.3d 1258, 1282 (11th Cir. 2016) (quoting United States v. Smith, 918 F.2d

1551, 1559 (11th Cir. 1990)); United States v. Browne, 505 F.3d 1229, 1268 (11th

Cir. 2007) (citing Zafiro v. United States, 506 U.S. 534, 537–38 (1993) (“There is a

preference in the federal system for joint trials of defendants who are indicted

together”)); United States v. Hill, 643 F.3d 807 (11th Cir. 2011). Cautionary

instructions to the jury to consider the evidence separately, such as the one given in

this case, are presumed to guard against prejudice. United States v. Francis, 131

F.3d 1452, 1459 (11th Cir. 1997) (quoting United States v. Gonzalez, 940 F.2d 1413,

1428 (11th Cir. 1991)); Zafiro, 506 U.S. at 539; United States v. Garcia, 405 F.3d

1260, 1273 (11th Cir. 2005). Severance is highly disfavored. Even in a case when

two co-conspirators committed murder, the Eleventh Circuit has found that

severance is not warranted. See United States v. Lopez, 649 F.3d 1222, 1233–36

(11th Cir. 2011). Thus, while Defendant would have preferred that his trial be

severed from that of his co-Defendants, he has not shown any constitutional basis

for relief.

       In a related claim, Defendant asserts in Ground 41 that the presentation of

what he characterizes as “inflammatory personal evidence” against two co-

Defendants violated his constitutional rights. He identifies three pieces of evidence.

The first was a CD containing child pornography that included what purported to be
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a personal note from the minor victim depicted in the images and videos on the CD

addressed to co-Defendant Castleman’s daughter, indicating that it was okay for her

to “play together” like the victim and her father (ECF No. 721 at 286). Second,

Defendant complains that the Government solicited testimony from Special Agent

Wilder that a co-Defendant had ties to a known Italian child pornography producer,

Sergio Marzola, who had no ties to the conspirators’ group (ECF No. 722 at 68).

The third item is a typewritten confession by co-Defendant McGarity in which he

admits that he molested his daughter for several years and had over 50,000 images

of child pornography on his computer (ECF No. 723 at 232–33).

       It is certainly true that in a multi-defendant trial, evidence may be introduced

against one defendant that is not probative of the guilt of another defendant. The

Government is not barred by this fact from introducing the evidence at all. With

respect to two of the specific items Defendant challenges, the appellate court found

a challenge to the admission of the CD to be meritless and not warranting discussion;

the court also ruled that the confession was properly admitted. McGarity, 669 F.3d

at 1229 n.6, 1243–45.          The reference to a co-Defendant’s connection to an

individual who produced both “child modeling” and “child pornography” (ECF No.

722 at 68) neither permeated the trial nor violated Defendant’s constitutional rights.



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       In sum, Defendant has not shown that he is entitled to § 2255 relief based on

his claims that improper testimony or evidence was adduced at trial.

       5. Failure to Preserve/Produce Evidence

       Defendant has raised five claims regarding the Government’s alleged failure

to preserve or produce relevant or exculpatory evidence to the defense.           The

Supreme Court held in Brady v. Maryland, 373 U.S. 83, 87 (1963), that “the

suppression by the prosecution of evidence favorable to an accused upon request

violates due process where the evidence is material either to guilt or punishment.”

In order to obtain relief on a Brady claim, Defendant must establish that: (1) the

Government possessed evidence favorable to him; (2) he did not possess the

evidence and could not have obtained it with reasonable diligence; (3) the

Government suppressed the favorable evidence; and (4) the evidence was material.

Ponticelli v. Secretary, Florida Department of Corrections, 690 F.3d 1271, 1292

(11th Cir. 2012) (citation omitted). Evidence is “material” if there is a reasonable

probability, that is, a probability sufficient to undermine confidence in the outcome,

that a different outcome would have resulted if the Government had disclosed the

evidence. Id. (citation omitted).

       The Government notes that Constable Power downloaded all material relevant

to the investigation and maintains that the Government neither destroyed nor failed
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to download any exculpatory evidence (ECF No. 720 at 52–146; ECF No. 721 at

180–96). The attachments to the Government’s brief support its assertion that this

information was provided directly to the defense or that the defense had the

opportunity to review it (ECF No. 1085, Exh. B). 2 Furthermore, the evidence in

question was created by the Defendants in a public forum. Defendant’s assertion

that the manner in which the evidence was preserved prevented him from presenting

exculpatory evidence that others posted the messages is unsupported, and he is not

entitled to relief on Ground 26.

       In his reply, Defendant cites the absence of “child modeling images” in the

discovery he was provided as proof that the Government did not provide him with

“exculpatory” evidence. Defendant argues that several of the Government’s trial

witnesses testified that over half the images “traded” by the alleged conspirators

were legal child modeling images. He fails to explain how the presence of photos

that were not actual child pornography somehow excuses his liability for those that




       2
          Defendant observes that the Government’s inclusion as an exhibit to its response a
request to have co-Defendant McGarity transported to the office of the United States Attorney, not
only does not prove that it did the same for him, but also suggests that his attorney was
constitutionally ineffective for failing to arrange same (see ECF No. 1085 Exh. D; ECF No. 1116
at 27). Defendant does not claim he requested and was denied such a subpoena, and he admits
that he and the other co-Defendants were provided a laptop computer to jointly review discovery
(ECF No. 1040 at 31).
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were. Furthermore, the jury was made aware of their existence through testimony

presented at trial.

       In Ground 27, Defendant contends that the Government did not provide him

with the “best evidence” as required by Fed. R. Evid. 1002 because he was provided

copies of decrypted messages rather than original encrypted messages. This rule,

which provides that an original writing, recording, or photograph is required in order

to prove its content, governs the type of evidence admissible at trial. Defendant’s

citation to this rule is inapposite as pertaining to discovery.

       The Defendant claims in Grounds 30 and 66 that the Government failed to

make available to him videos and images that would be used in its case against him.

He asserts that the court ordered the Government to show the defense all the images

and videos they wished to see. Special Agent Cordero showed Defendant only a

single DVD, WM-31, although there were other images and videos available,

including some that contained “legal content” and were thus exculpatory, in

violation of his Brady rights. As noted above, the fact that “legal” images existed

in addition to the “illegal” images is not in and of itself exculpatory.

       In Ground 72, Defendant contends that Special Agent Cordero “deliberately

tampered with exculpatory evidence attached to an FD-302 report used as the basis

of paragraphs 61 and 62 [of his PSR]” (see ECF No. 1040 at 53; ECF No. 1207).
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Defendant asserts that because the appendices to the report are missing the headers

of the conversation stream, he was unable to show that he had no part in the

conversation that took place therein. Defendant cannot show that this information

had an impact on his conviction and sentence in this case, and he is not entitled to

relief.

          6. Procurement of Indictment

          In Grounds 28 and 29, Defendant complains about irregularities in the

indictment process. First he claims that the Government intentionally and unfairly

delayed his indictment, resulting in the loss of relevant evidence. He also asserts

that the Government improperly engaged in forum shopping by presenting its case

in the Northern District of Florida after a grand jury in Maryland did not return the

charges sought by the Government.

          To the extent Defendant asserts that prosecution was improper in this district,

he is mistaken.      As noted by the Government in its response, this was a global

operation. Dozens of conspirators were arrested on February 29, 2008, around the

world. Clearly, the case was much more far reaching than just this one Defendant,

and the Government had to choose the best time and location for prosecuting its case.

Defendant’s speculation about the reason for the delay (“the government delayed as

long as possible in the hopes that some group member would commit some heinous
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crime against a child and post it to the group”) (ECF No. 1048 at 10–11) is nothing

more than rank speculation and does not establish that his rights were intentionally

and purposefully violated by a delay.

       As noted above, in a case involving a conspiracy venue is proper “in any

district where an overt act was committed in furtherance of the conspiracy. United

States v. Smith, 918 F.2d 1551, 1557 (11th Cir. 1990); United States v. Matthews,

168 F.3d 1234, 1246 (11th Cir. 1999); 18 U.S.C. § 3237(a); see also United States

v. Bagnell, 679 F.2d 826 (11th Cir. 1982) (Government may prosecute pornography

dealers in any district into which the material is sent); United States v. Kapordelis,

569 F.3d 1291 (11th Cir. 2009) (citing United States v. Rodriguez-Moreno, 526 U.S.

275, 279–81 (1999)). The Government’s decision to procure the indictment in this

district in lieu of the district where Defendant resided was not constitutionally

improper, and Defendant has not shown that he is entitled to relief.

       7. Improper Use of Government Witness/Potential Defense Witness

       In Ground 32, Defendant contends that the Government improperly used a

confidential informant to obtain defense trial strategy. He asserts that in mid-2008,

co-Defendant John Mosman and his counsel “covertly arranged a plea deal”

whereby Mosman would remain incarcerated in the same county jail dormitory as

the other Defendants and participate in meetings and discussions regarding trial
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strategies. Mosman also was allegedly able to access the laptop computer the co-

Defendants had been provided to jointly review discovery, and at one point deleted

large amounts of discovery in an attempt to disrupt the defense efforts. Defendant

claims that Mosman took notes, passing them on to his lawyer and the prosecutor.

As seeming “proof” of the covert arrangement, Defendant cites the fact that Mosman

did not enter his formal plea until the final deadline for doing so, and thereafter was

transferred to another facility. As further “proof,” Defendant notes that a trial that

the Government had claimed would take four weeks was completed in five days.

Defendant’s bald assertions do not prove his claim. Furthermore, the Government

notes in its response, as this court is well aware, the Office of the United States

Attorney for this district does not engage in plea bargaining. The Government

explained at a pre-trial conference that it expected the trial to be shorter than

anticipated in part because fewer Defendants were proceeding to trial, but also

because it had culled through the evidence (see ECF No. 763 at 16; see also ECF

No. 720 at 10). Defendant’s arguments are based on rank speculation without any

supporting evidence.

       In Ground 33, Defendant contends that the Government improperly interfered

with a potential defense witness, co-Defendant Micheal Berger, who pleaded guilty

in this case. Defendant contends that once he got to know Berger, whom the
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Government had identified as “Box of Rocks,” he realized that Berger was not the

person he had known by that online name for several years. He asserts that after

the Government came to the same conclusion, it offered Berger a plea deal to prevent

the jury from hearing that there were possible hacked accounts. Defendant sought

to have Berger testify regarding his online activities and the apparent hacking and

identity theft.    According to Defendant, the Government approached both his

attorney and counsel for Berger and warned that if Berger testified, evidence would

be turned over to Berger’s home state and the Government would “see to it that

Berger was indicted on the unrelated allegation of video voyeurism” from ten years

prior (ECF No. 1040 at 32). Defendant notes that the Government allowed Berger

to plead guilty to a single “unrelated” count of receipt of child pornography.

       Defendant’s assertions are, again, factually unsupported. The Government

appended to its response a letter from Mr. Berger’s attorney regarding his

conversations with Defendant Mumpower about the conspiracy, and Berger’s desire

to cooperate with the Government in order to receive a Rule 35 motion (ECF No.

1085, Exh. G). The record reflects that on October 2, 2008, Berger, as part of the

instant conspiracy, pleaded guilty to Count 26 of the Superseding Indictment, not an

“unrelated” charge (see ECF Nos. 288–289, 855-2). The transcript of Berger’s

rearraignment also reflects that pursuant to Berger’s plea the Government agreed
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that it would not prosecute him in the District of Maryland for a crime committed in

that district (ECF No. 855 at 83–84). Berger was sentenced on December 16, 2008,

before trial began in Defendant’s case (ECF Nos. 386, 387). Thus, there was

nothing preventing the defense from calling him to testify at trial, had it chosen to

do so. Berger’s motivation to earn a Rule 35 motion, rather than impropriety on the

part of the Government might have prevented him from being a defense witness.

       8.   Infirmity of Jury

       In Grounds 42, 43, and 54, Defendant raises claims regarding the alleged

infirmity of the jury venire and the selection process, and alludes to district court

error in “tainting” the jury pool.

       Defendant claims in Ground 42 that the jury venire was inadequate due to its

size, noting that only 49 individuals appeared. He also complains that because a

majority of the venire appeared to self-identify as Christians, which Defendant is

not, the jury was not a “jury of his peers.” He asserts in his reply that his peers are

“far more cosmopolitan than a pool that can be found within the Pensacola Division”

(ECF No. 1116 at 35). It is well settled that “defendants are not entitled to a jury of

any particular composition, but the jury wheels, pools of names, panels, or venires

from which juries are drawn must not systematically exclude distinct groups in the

community and thus fail to be reasonably representative.” United States v. Green,
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742 F.2d 609, 611 (11th Cir. 1984). A jury pool must represent a cross-section of

the community. Taylor v. Lousiana, 419 U.S. 522, 528 (1975). Under the Jury

Selection and Service Act, the relevant community from which a jury is to be

selected is “the district or division wherein the court convenes.” 28 U.S.C. § 1861.

Defendant has not shown constitutional error in the composition of the jury venire

in this case.

       In Ground 43, Defendant claims that the defense was “forced to use

peremptory strikes in order to excuse jurors who should have been dismissed for

cause.” He claims that the court was reluctant to, or refused to, dismiss jurors for

cause due to the small size of the jury pool. In Ground 54, Defendant claims that

the district court abused its discretion when it sat an inadequate number of jurors in

the venire and consequently refused to dismiss jurors for cause. He also claims that

the court interjected its own religious beliefs into the trial, thus tainting the jury pool.

       Due process requires that “the jury must stand impartial and indifferent to the

extent commanded by the Sixth Amendment.” Morgan v. Illinois, 504 U.S. 719,

727 (1992). The seating of any juror who should have been dismissed for cause

requires reversal. Skilling v. United States, 561 U.S. 358, 395–96 (2010) (citing

United States v. Martinez-Salazar, 528 U.S. 304, 316 (2000)). Defendant identifies

four jurors that he believes should have been stricken for cause: juror #2, whose
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wife was an elementary school principal; juror #23, who was a kindergarten teacher

who expressed a bias against the Defendants; juror #25, who stated that she had been

molested as a child by a stranger; and juror #33, who stated that the daughters of her

only two friends had been sexually abused and that she had worked in the State

Attorney’s Office assisting in the prosecution of sexual abuse cases (ECF No. 972

at 14).

          Defendant’s assertions about the court’s “refusal” to strike jurors for cause are

not supported by the record. Contrary to his assertion, a defense attorney may move

to strike a juror for cause, and in fact attorney Clinton Couch made such a challenge

(ECF No. 758 at 68–70). The court merely advised counsel that it would count the

challenge for cause as one of the 14 challenges allotted to the defense (ECF No. 758

at 70).      Thus, Defendants as a group received more challenges than the ten

challenges allotted by Rule 24(b)(2) of the Federal Rules of Criminal Procedure, and

there was no operative difference between a challenge for cause and a peremptory

challenge. Despite Defendant’s complaint, the record reflects that each of the jurors

described above was stricken by the defense (ECF No. 758 at 71–75). Furthermore,

the undersigned notes that the Defendants as a group did not exhaust their 14

challenges (ECF No. 758 at 75–76), and thus there were qualified venire persons

remaining after jury selection was complete. Defendant has not shown either that
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the jury ultimately empaneled was biased or that the outcome of the proceedings

would have been different with a larger venire, and he is not entitled to relief on this

ground.

       Within Ground 54, Defendant contends that the district court improperly

asserted a belief in the “Good Book,” thus suggesting that the jury should follow

“the morals of that Book rather than the proper laws of Congress” (ECF No. 1040 at

46). The reference in question actually occurred during jury selection, while the

court was explaining the standard of proof required in a criminal case, proof beyond

a reasonable doubt. The court stated “To use an example, our scientists continue to

tell us that for over five billion years the sun has been coming up every day, and that

suggests to me that it is probably reasonable to expect that the sun will rise

tomorrow. On the other hand, those of us who believe in the Good Book know that

it says one day that sun will not rise, and that also could be tomorrow.” (ECF No.

758 at 38). The court went on to explain that a possible doubt about the sun not

coming up the next day was not a reasonable doubt, and then asked the jurors

whether they would require proof beyond any doubt before they were willing to

return a verdict of guilty. This single isolated reference to the “Good Book” cannot

reasonably be construed as the court telling the jury “to judge the defendants

according to conservative Christian thinking, not the laws of the United States” (ECF
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No. 1040-1 at 64). Nor is it proof that “law was ignored in favor of religious

morality” (ECF No. 1116 at 35). It did not contaminate the venire panel or render

the resulting jury constitutionally infirm. Defendant also notes that the court, while

introducing Ms. Mary Maloy, Deputy Clerk in charge of paperwork, commented “I

always add a thank you, amen to that” (ECF No. 720 at 7). His suggestion that such

comments are “nothing short of grooming the jury pool towards the judge’s way of

Christian thinking” is conclusory. No relief is warranted on these claims.

       9.   Improper Closing Argument

       Defendant argues in Ground 45 that the prosecutor’s closing argument and

rebuttal were improper and violated his constitutional rights and that the district

court should have granted a mistrial. The propriety of remarks made during the

prosecutor’s closing argument was addressed on appeal, and Defendant joined co-

Defendants McGarity, Lakey, Lamber, and White in contending that a mistrial was

warranted. McGarity, 669 F.3d at 1245. Notably, the Eleventh Circuit agreed that

some comments made by the prosecutor during his closing were improper, but found

the comments did not prejudice the substantial rights of the Defendants in light of

the overwhelming evidence against them. Id. at 1245–47. No relief is warranted.




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       10. Infirmity of Jury Instructions

       In Claims 46 and 47, Defendant challenges the jury instructions in his case.

First he asserts that the court ignored a defense request for a unanimity instruction.

Second, he claims that the instruction on aiding and abetting was improper.

       A unanimity instruction was required as to Count 1 to ensure that the jury

convicted each Defendant based on the same three predicate offenses. On appeal,

Defendant challenged the lack of unanimity instruction and the Government

conceded that same was required. The appellate court found, however, that the

failure to include the instruction was harmless error. The Eleventh Circuit noted

that each of the Defendants, with the exception of defendant White, was convicted

of three predicate CEE offenses, to wit, advertising child pornography and

transportation of child pornography, as well as conspiracy, and that conspiracy

remained a valid predicate offense notwithstanding the fact that it had been vacated

as a lesser included offense. McGarity, 669 F.3d 1250–51 n.45. Because this issue

was resolved on appeal, no further discussion is warranted.

       Defendant argues in Ground 46 that the failure to provide a unanimity

instruction on the substantive counts, as requested by his attorney, violated his

constitutional rights. In response, the Government notes merely that the court

utilized pattern instructions (ECF No. 469). Defendant argues that because the
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Government presented evidence of multiple advertisements, transports, and receipts

of child pornography, a unanimity instruction was required to ensure that the jurors

unanimously agreed on which act or acts formed the basis for each conviction.

Defendant’s suggestion that, had such an instruction been given, the outcome of the

proceedings would have been different, is purely speculative. He has not shown

that his substantial rights were affected, and he is not entitled to relief. See United

States v. Weiss, 539 F. App’x 952, 956–57 (11th Cir. 2013).

       Defendant alleges in Ground 47 that the jury was improperly instructed on

aiding and abetting. Charging a defendant with aiding and abetting permits the

Government to charge an accomplice as a principal, “even though all of the elements

of the substantive offense could not be proven against the accomplice.” United

States v. Sellers, 871 F.2d 1019, 1022 (11th Cir. 1989); United States v. Broadwell,

870 F.2d 594, 607–08 (11th Cir. 1989). Furthermore, a defendant can be found

guilty as an aider and abettor regardless of whether he was specifically charged as

such in the indictment. Broadwell, 870 F.2d at 607.

       The propriety of the aiding and abetting instruction was thoroughly discussed

during the jury charge conference, with one defense attorney taking the position that

the Government’s decision to charge the Defendants in separate counts of the

indictment meant that they waived the ability to pursue aiding and abetting liability
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because a lone defendant could not aid and abet himself (ECF No. 724 at 69–73).

After the court indicated its intent to give the standard aiding and abetting

instruction, counsel for co-Defendant Freeman objected to the instruction except as

to Count 40 (ECF No. 724 at 126–27, 134). The Government noted that the aiding

and abetting instruction could be read in any case. The court found it to be proper

and included the instruction (ECF No. 724 at 135). An issue such as this that was

fully developed could have been raised on appeal. In any event, Defendant has not

shown that inclusion of this instruction violated his constitutional rights.

       11. Infirmity at Sentencing

       Defendant complains of multiple issues surrounding his sentencing, at which

he was represented by Gary Printy (ECF No. 812). Counsel adopted the objections

made by other Defendants to preserve the issues for appeal, objected to the

guidelines calculations contained within paragraphs 83 through 97 of the PSR, and

made numerous other objections to matters contained within the PSR. The court

overruled or “noted” all of the objections and listened to Defendant’s statement in

allocation before imposing sentence (ECF No. 812 at 3–32).             The court also

specifically noted that it would have imposed the same sentences upon Defendant

without regard to the correctness or incorrectness of the rulings made with regard to

the presentence report (ECF No. 812 at 37).
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          Sentencing issues are typically not cognizable on collateral review, and

Defendant attempts to cloak his claims in constitutional terms in an attempt to obtain

relief.     In Grounds 48, 49, and 50, he complains of alleged errors in the PSR.

Specifically, he claims that the facts contained therein and the enhancements based

upon these facts were not supported by trial evidence.              “Under an advisory

guidelines regimen, judicial fact-finding about relevant conduct that supports a

sentence within the statutory maximum set forth in the United States Code does not

violate the Sixth Amendment” United States v. Belfast, 611 F.3d 783, 827 (11th

Cir. 2010) (citing United States v. Booker, 543 U.S. 220, 233 (2005)).

Furthermore, the court specifically noted that the sentences would have been the

same regardless of any errors in the PSR (ECF No. 812 at 37).

          In Ground 51, Defendant contends that the court based his sentences “largely

on his decision to seek a jury trial rather than the facts and evidence presented.” As

proof thereof, he notes that co-conspirators who pleaded guilty received sentences

at or below the bottom of the applicable guideline ranges. A defendant who pleads

guilty typically receives credit for acceptance of responsibility, and one who

provides substantial assistance to law enforcement either before or after sentencing

will generally receive a significant reduction in his or her sentence.           There is

nothing legally improper about this.             The fact that defendants who cooperate
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receive benefits does not mean that those who exercise their right to go to trial are

“punished”—rather they receive a sentence within the parameters set forth by the

sentencing guidelines and applicable statutes.

       Defendant’s complaint about his sentence on Count 2 in Ground 52 is moot

in light of the fact that the Eleventh Circuit vacated his conviction on this count.

       Defendant’s assertion in Ground 53, that he should not have received a

separate sentence on Counts 1, 12, and 22 because the latter two offenses were

“lesser-included offenses,” is also without merit.        In any event, because the

sentences were imposed to run concurrently, there is no practical effect on

Defendant’s sentence.

       12. District Court Bias and Error

       In Grounds 54, 55, and 65, Defendant contends that the district court abused

its discretion during trial, allowed personal and religious biases to infect the trial,

and failed to instruct the jury on venue.        The majority of the errors of which

Defendant complains are discussed supra, as relating to separate grounds for relief.

Jurisdiction was proper in this case, the jury venire was not constitutionally

inadequate, and no instruction on venue was legally required. Defendant’s

suggestion that the court made improper rulings on admission of evidence or

objections posed by the parties is unfounded. There is no merit to his assertion that
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the district court abused its discretion in allowing the testimony discussed in

Grounds 35, 36, 38, 41, and 44; the subpoena evidence as discussed in Ground 34;

or the attorney work-product summaries as discussed in Ground 37. Finally, there

is no legal authority to support his suggestion that the court was required to “pre-

screen potentially prejudicial images and videos to weigh their probable effect on

the jury,” and this is not a basis for relief.

       Defendant’s suggestion that the district court has a “personal bias favoring

children” that impacted the court’s rulings in this case is spurious.           The court’s

“religious comments” did not affect, as Defendant claims, his right to freedom of

religion, separation of church and state, or his right to a fair trial.

       13. Eleventh Circuit Court of Appeals Abuse

       In Grounds 58, 60 through 63, and 77, Defendant challenges various actions

of the Eleventh Circuit Court of Appeals. Specifically, he alleges that the appellate

court abused its discretion by allowing Senior District Judge Roger Vinson, a

colleague of trial court Judge Lacey Collier, to sit on the panel in this appeal.

Defendant presumes bias by Judge Vinson due to the fact that Judges Vinson and

Collier have been “friends and colleagues for many years.”                Defendant further

claims that the appellate court failed to follow its own and Supreme Court precedent

by failing to establish that it had jurisdiction over the appeal, by declining to consider
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the impact of issues it identified as meritless on other Defendants, and finally in

holding that it was bound by prior precedent. Assertions of error by the appellate

court are not cognizable in this proceeding. Defendant filed a petition for writ of

certiorari, the proper method for challenging the Eleventh Circuit’s decision, but the

United States Supreme Court denied the petition. Mumpower v. United States, 133

S. Ct. 551 (2012).

       14. Infirmity of Defense Expert

       In Ground 74, Defendant contends that the Government paid for him to hire

Richard Greene as an expert witness to testify in behalf of the defense but that Mr.

Greene “disappeared to parts unknown during the trial leaving Mumpower without

anybody to testify to technical facts on his behalf” (ECF No. 1040 at 54). The

Government notes that in addition to the procedural bar that would apply to this

claim, to its recollection, the defense expert did not testify because there was no

legitimate forensic defense theory. The Government further states that it “invites

the Defendant to request an affidavit from said expert in order to opine as to what

his testimony may have been” (ECF No. 1085 at 35).            In his reply Defendant

requested permission to “present the expert witness with an affidavit either pro se,

or as part of discovery through an appointed attorney” (ECF No. 1116 at 40), but he

again offered nothing but speculation that the witness might have any favorable
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evidence, and he has not provided any supplementary evidence in this regard during

the time the instant motion has been pending. As such, he has not shown a violation

of his constitutional rights.

       15. Infirmity of Statute

       Defendant contends in Ground 79 that defining “sexually explicit conduct” in

part as “graphic or simulated lascivious exhibition of the genitals or pubic area of

any person” as is done in 18 U.S.C. § 2256(2)(B)(iii), is “unconstitutionally

overbroad as applied and as written, has a chilling effect on free speech.”

Defendant complains that an individual who possesses images of something believed

to be legal risks being jailed and ruining their finances and reputation for exercising

their First Amendment rights.          It is well settled that child pornography is not

entitled to First Amendment protection. See New York v. Ferber, 458 U.S. 747

(1982); Ashcroft v. The Free Speech Coalition, 535 U.S. 234 (2002). A statute is

void for vagueness if it “fails to provide a person of ordinary intelligence fair notice

of what is prohibited, or is so standardless that it authorizes or encourages seriously

discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008);

United States v. Woods, 684 F.3d 1045, 1057 (11th Cir. 2012); United States v.

Wayerski, 624 F.3d 1342, 1347 (11th Cir. 2010). A statute is facially overbroad if

it prohibits a substantial amount of protected speech “relative to the statute’s plainly
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legitimate sweep.” Woods, 684 F.3d at 1057 (quoting Williams, 553 U.S. at 292).

Defendant offers no legal support for his argument that the definition of lascivious

exhibition is vague or overbroad, and this claim thus fails.

          Defendant also raises a factual challenge to items presented at trial. He

asserts that certain trial exhibits that the Government contends are child

pornography, such as WM-1, WM-11A and WM-7, actually have “legal” content.

In response, the Government notes that trial exhibit WM-1 was not offered as child

pornography, but rather as an electronic text posting used to trace Defendant’s

identity.     Exhibit WM-11A was also a text posting published to the jury in

conjunction with images associated with the posting for the jury to make a

determination as to whether child pornography was present. There is no basis for

relief.

          16. Ineffective assistance of Trial Counsel (Attorney E. Brian Lang)

          Defendant raises twenty grounds alleging ineffective assistance of trial

counsel (see Grounds 2, 4, 5, 7, 10, 12, 14, 17, 21, 23, 25, 31, 56, 57, 67–69, 73, 75,

76. The vast majority of the underlying substantive claims have been discussed

above and shown to be without merit. Counsel is not constitutionally ineffective

for his failure to raise a meritless claim.      Denson v. United States, 804 F.3d 1339,

1342 (11th Cir. 2015) (citing Freeman v. Attorney General, Florida, 536 F.3d 1225,
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1233 (11th Cir. 2008)). This is true regardless of whether the issue is a trial or

sentencing issue. See, e.g., Sneed v. Florida Dep=t of Corrections, 496 F. App=x 20,

27 (11th Cir. 2012) (failure to preserve meritless Batson claim not ineffective

assistance of counsel); Lattimore v. United States, 345 F. App=x 506, 508 (11th Cir.

2009) (counsel not ineffective for failing to make a meritless objection to an

obstruction enhancement); Brownlee v. Haley, 306 F.3d 1043, 1066 (11th Cir. 2002)

(counsel was not ineffective for failing to raise issues clearly lacking in merit);

Chandler v. Moore, 240 F.3d 907, 917 (11th Cir. 2001) (counsel not ineffective for

failing to object to Ainnocuous@ statements by prosecutor, or accurate statements by

prosecutor about effect of potential sentence); Meeks v. Moore, 216 F.3d 951, 961

(11th Cir. 2000) (counsel not ineffective for failing to make meritless motion for

change of venue); Jackson v. Herring, 42 F.3d 1350, 1359 (11th Cir. 1995) (counsel

need not pursue constitutional claims which he reasonably believes to be of

questionable merit); United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992)

(no ineffective assistance of counsel for failing to preserve or argue meritless issue);

Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989) (counsel was not

ineffective for informed tactical decision not to make what he believed was a

meritless motion challenging juror selection procedures where such a motion has



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never been sustained because such a motion would not have been successful).

Thus, any such assertions do not entitle Defendant to relief.

        In order to prevail on a constitutional claim of ineffective assistance of

counsel, a defendant must demonstrate both that counsel=s performance was below

an objective and reasonable professional norm and that he was prejudiced by this

inadequacy.      Strickland v. Washington, 466 U.S. 668, 686 (1984); Williams v.

Taylor, 529 U.S. 362, 390 (2000); Darden v. United States, 708 F.3d 1225, 1228

(11th Cir. 2013). In applying Strickland, the court may dispose of an ineffective

assistance claim if a defendant fails to carry his burden on either of the two prongs.

Strickland, 466 U.S. at 697; Brown v. United States, 720 F.3d 1316, 1326 (11th Cir.

2013); Holladay v. Haley, 209 F.3d 1243, 1248 (11th Cir. 2000) (A[T]he court need

not address the performance prong if the defendant cannot meet the prejudice prong,

or vice versa.@).

       In determining whether counsel=s conduct was deficient, this court must, with

much deference, consider Awhether counsel=s assistance was reasonable considering

all the circumstances.@ Strickland, 466 U.S. at 688; see also Dingle v. Sec=y for

Dep=t of Corr., 480 F.3d 1092, 1099 (11th Cir. 2007). Reviewing courts are to

examine counsel=s performance in a highly deferential manner and Amust indulge a

strong presumption that counsel=s conduct fell within the wide range of reasonable
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professional assistance.@ Hammond v. Hall, 586 F.3d 1289, 1324 (11th Cir. 2009)

(quoting Strickland, 466 U.S. at 689); see also Chandler v. United States, 218 F.3d

1305, 1315B16 (11th Cir. 2000) (discussing presumption of reasonableness of

counsel=s conduct); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989)

(emphasizing that petitioner was Anot entitled to error-free representation@).

Counsel=s performance must be evaluated with a high degree of deference and

without the distorting effects of hindsight. Strickland, 466 U.S. at 689. To show

counsel=s performance was unreasonable, a defendant must establish that Ano

competent counsel would have taken the action that his counsel did take.@ Gordon

v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (citations omitted); Chandler,

218 F.3d at 1315.         When reviewing the performance of an experienced trial

counsel, the presumption that counsel=s conduct was reasonable is even stronger,

because A[e]xperience is due some respect.@ Chandler, 218 F.3d at 1316 n.18.

       With regard to the prejudice requirement, a defendant must establish that, but

for counsel=s deficient performance, the outcome of the proceeding would have been

different. Strickland, 466 U.S. at 694. AThe likelihood of a different result must

be substantial, not just conceivable.@           Harrington v. Richter, 562 U.S. 86, 112

(2011) (quoting Strickland).           For the court to focus merely on Aoutcome

determination,@ however, is insufficient; A[t]o set aside a conviction or sentence
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solely because the outcome would have been different but for counsel=s error may

grant the defendant a windfall to which the law does not entitle him.@ Lockhart v.

Fretwell, 506 U.S. 364, 369–70 (1993); Allen v. Sec=y, Fla. Dep=t of Corr., 611 F.3d

740, 754 (11th Cir. 2010). A defendant therefore must establish Athat counsel=s

errors were so serious as to deprive the defendant of a fair trial, a trial whose result

is reliable.@ Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687). Or

in the case of alleged sentencing errors, a defendant must demonstrate that there is a

reasonable probability that, but for counsel=s errors, the result of the proceeding

would have been less harsh due to a reduction in the defendant=s offense level.

Glover v. United States, 531 U.S. 198, 203–04 (2001). A significant increase in

sentence is not required to establish prejudice, as Aany amount of actual jail time has

Sixth Amendment significance.@ Id. at 203.

       To establish ineffective assistance, Defendant must provide factual support

for his contentions regarding counsel=s performance.         Smith v. White, 815 F.2d

1401, 1406B07 (11th Cir. 1987).             Bare, conclusory allegations of ineffective

assistance are insufficient to satisfy the Strickland test. See Boyd v. Comm=r, Ala.

Dep=t of Corr., 697 F.3d 1320, 1333B34 (11th Cir. 2012); Garcia v. United States,

456 F. App=x 804, 807 (11th Cir. 2012) (citing Yeck v. Goodwin, 985 F.2d 538, 542

(11th Cir. 1993)); Wilson v. United States, 962 F.2d 996, 998 (11th Cir. 1992);
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Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991); Stano v. Dugger, 901 F.2d

898, 899 (11th Cir. 1990) (citing Blackledge v. Allison, 431 U.S. 63, 74 (1977)).

       Finally, the Eleventh Circuit has recognized that given the principles and

presumptions set forth above, Athe cases in which habeas petitioners can properly

prevail . . . are few and far between.@ Chandler, 218 F.3d at 1313. This is because

the test is not what the best lawyers would have done or even what most good

lawyers would have done, but rather whether some reasonable lawyer could have

acted in the circumstances as defense counsel acted. Dingle, 480 F.3d at 1099;

Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000). AEven if counsel=s

decision appears to have been unwise in retrospect, the decision will be held to have

been ineffective assistance only if it was >so patently unreasonable that no competent

attorney would have chosen it.=@          Dingle, 480 F.3d at 1099 (quoting Adams v.

Wainwright, 709 F.2d 1443, 1445 (11th Cir. 1983)). The Sixth Circuit has framed

the question as not whether counsel was inadequate, but rather whether counsel=s

performance was so manifestly ineffective that Adefeat was snatched from the hands

of probable victory.@ United States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992).

Regardless of how the standard is framed, under the prevailing case law it is

abundantly clear that a moving defendant has a high hurdle to overcome to establish

a violation of his constitutional rights based on his attorney=s performance.           A
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defendant=s belief that a certain course of action that counsel failed to take might

have helped his case does not direct a finding that counsel was constitutionally

ineffective under the standards set forth above.

       Defendant faults virtually every aspect of counsel’s performance. He asserts

that counsel failed to protect his rights pre-trial because he did not file his own

pretrial motions, but rather rode “on the coattails of other attorneys” and that counsel

failed to investigate his case and to view the images and videos with his client.

(Grounds 2, 4, and 31).           Adopting the motions of co-defendants is not an

unconstitutional litigation strategy and does not render counsel’s performance

constitutionally deficient. The Government submits that defense counsel reviewed

discovery, and has submitted a letter dated December 16, 2008, addressed to defense

counsel, confirming same (ECF No. 1085, Exh. B).

       In Ground 5, Defendant assails the Federal Public Defender in Spokane,

Washington for his failure to argue against extradition on the basis that this court

lacked jurisdiction over Defendant. Assuming that such a challenge is procedurally

proper, there is no legal merit to it. Both jurisdiction and venue were proper in this

court, and neither the Washington attorney nor Defendant’s trial attorney were

constitutionally ineffective for failing to raise these challenges (see also Ground 7).



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       In Grounds 10, 12, 14, 17, 21, 23, and 25, Defendant challenges counsel’s

performance at trial. He alleges as to several of the charges against him that counsel

failed to properly cross-examine or impeach certain witnesses to establish his

innocence of the charges (e.g., Grounds 10, 12, 23). Defendant was present with

counsel at trial and does not appear to have raised these issues with his attorney at

the time. Furthermore, in light of the “overwhelming” evidence presented at trial,

Defendant has not shown that the outcome of the proceedings would have been

different had counsel pursued these lines of questioning. Defendant faults counsel

for failing to file motions for judgment of acquittal and for judgment notwithstanding

the verdict, and for failing to move for a venue instruction or to challenge an alleged

variance, but he has not shown prejudice because such motions were unsustainable

(e.g. Grounds 14, 17). Grounds 21 and 25 relate to Counts 2 and 40 which were

overturned on appeal. Thus, even if counsel was constitutionally ineffective with

respect to these grounds, there was no prejudice.

       In Grounds 56 and 57, Defendant claims that counsel was ineffective because

he failed to move that the entire jury pool be excused because it was tainted by the

religious comments of the court, or for his failure to file a motion seeking Judge

Collier’s recusal due to alleged religious and personal biases. Defendant’s claim

that the jury pool was tainted because of the court’s reference to the Good Book is
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without merit, as discussed above.              Thus counsel was not constitutionally

ineffective for failing to make the suggested motion.

       With respect to the latter claim, Title 28 U.S.C. ' 144 governs recusal of a

judge. That statute provides:

             Whenever a party to any proceeding in a district court makes and
       files a timely and sufficient affidavit that the judge before whom the
       matter is pending has a personal bias or prejudice either against him or
       in favor of any adverse party, such judge shall proceed no further
       therein, but another judge shall be assigned to hear such proceeding.

            The affidavit shall state the facts and the reasons for the belief that
       bias or prejudice exists, and shall be filed not less than ten days before
       the beginning of the term at which the proceeding is to be heard, or
       good cause shall be shown for failure to file it within such time. A
       party may file only one such affidavit in any case. It shall be
       accompanied by a certificate of counsel of record stating that it is made
       in good faith.

28 U.S.C. ' 144. In the Eleventh Circuit, 28 U.S.C. '' 144 and 455 must be

construed in pari materia. See Parrish v. Bd. of Com=rs of Ala. State Bar, 524 F.2d

98, 102B03 (5th Cir. 1975). 3 Section 455 provides:




       3
         In Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all former Fifth Circuit decisions rendered before October 1,
1981.

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              (a) any justice, judge, or magistrate judge of the United States
       shall disqualify himself in any proceeding in which his impartiality
       might reasonably be questioned.
              (b) He shall also disqualify himself in the following
       circumstances:
              (1) Where he has a personal bias or prejudice concerning a party,
       or personal knowledge of disputed evidentiary facts concerning the
       proceeding; . . .

28 U.S.C. ' 455(a, b(1)). Under ' 455(a), the standard is objectively based on

whether a reasonable individual could conclude based on all the facts that the judge=s

impartiality could be questioned, that is, whether the facts establish that the

appearance of partiality exists. See id. ' 455(a); Jaffree v. Wallace, 837 F.2d 1461,

1465 (11th Cir. 1988). Whereas, ' 455(b), like ' 144, requires a showing of actual

partiality. See Hoffman v. Caterpillar, Inc., 368 F.3d 709, 718 (7th Cir. 2004)

(unlike motion under Section 455(a), which simply requires reasonable appearance

of bias, motion under Section 144 requires showing of actual bias, which only

personal animus or malice on part of judge can establish). In either case, the

moving party must allege facts supporting his contention; thus, he must allege facts

from which a reasonable person could conclude that the judge=s impartiality could

be questioned, or facts that establish that a particular ground for disqualification

actually exists. Additionally, bias sufficient to disqualify a judge must be personal

rather than judicial unless the judicial conduct Areveal[s] an antipathy . . . intense

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enough to make fair judgment impossible.@ Onishea v. Hopper, 126 F.3d 1323,

1340, (11th Cir. 1997), vacated on other grounds, 133 F.3d 1377 (11th Cir. 1998);

see also First Alabama Bank of Montgomery v. Parsons Steele, 825 F.2d 1475 (11th

Cir. 1987); United States v. Meester, 762 F.2d 867, 884B85 (11th Cir. 1985). It is

no basis for disqualification that the judge simply ruled adversely to the movant=s

cause. See United States v. Chandler, 996 F.2d 1073, 1104 (11th Cir. 1993);

McWhorter v. City of Birmingham, 906 F.2d 674, 678B79 (11th Cir. 1990); Jaffe v.

Grant, 793 F.2d 1182, 1188B89 (11th Cir. 1986).

      Defendant argues that Judge Collier’s public support of children and his

advocacy for children as demonstrated by his sponsorship of the Lacey A. Collier

Snoezelen Sensory Complex at the Escambia Westgate School is proof of his

personal bias (see ECF No. 1040-2 at 72). This speculative argument is woefully

insufficient to show personal bias on the part of Judge Collier or that his impartiality

might reasonably be questioned, and it provides no basis for recusal under any of the

standards set forth above. Counsel was not constitutionally ineffective for failing




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to file a motion to recuse Judge Collier, as there was neither a factual nor a legal

basis for such a motion.

      In Grounds 67 and 68, Defendant asserts that trial counsel was ineffective

because he failed to ensure that the Government had provided all images and videos

he needed to prepare for trial and that counsel failed to take an adversarial stand on

the Government’s actions discussed in Grounds 26 through 29, and 32 through 47,

discussed above.    Because these grounds were found to lack substantive merit,

counsel was not constitutionally ineffective for his failure to assert them.

      In Grounds 69 and 73, Defendant contends that counsel was constitutionally

ineffective at sentencing. As noted above, the court explicitly stated that it would

have imposed the same sentences upon Defendant without regard to the correctness

or incorrectness of the rulings made with regard to the PSR (ECF No. 812 at 37).

As such, counsel’s performance cannot be deemed constitutionally ineffective.

      Defendant’s assertion in Ground 75 that counsel was ineffective because he

failed to request a bench warrant to bring in the purported expert witness, Mr.

Greene, is without merit. He has not shown any prejudice from counsel’s failure

to do this.    Moreover, as noted above, the recollection of counsel for the




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Government is that Mr. Greene, after review of the evidence, was not called as an

expert because he could not assist in a defense.

      In Ground 76, Defendant contends that counsel was constitutionally

ineffective because he abandoned Defendant at a critical stage of the trial by failing

to put on any defense. Even if, as Defendant seems to suggest, many of the images

traded by the enterprise contained legal content, it was the illegal content that was

the target of the instant prosecution. This defense, to the extent it was mounted by

the other co-conspirators was rejected by the jury in light of the overwhelming

evidence presented to it. The fact that Defendant’s counsel did not affirmatively

present a defense is in many circumstances the most reasonable defense strategy,

and not a constitutional failing. What is more, through his closing argument,

counsel reminded the jury about the parameters of the charges and suggested that

Defendant’s conduct likely fell outside that time period. Counsel suggested that the

Government had failed to prove Defendant was actually responsible for posts made

under his nickname and offered a concrete example of someone else posting under

Defendant’s online identity. He reminded the jury several times take their time to

consider any reasonable doubts they had about the case. (See ECF No. 760 at 72–

83). Mr. Lang conceded that Defendant might have had some “bad stuff” at his


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house, but argued to the jury that it was not within the parameters of the charged

conspiracy. A lawyer who makes a concession that his client may be guilty of some

wrongdoing, but not the specific charges, makes a strong appeal to the jury’s sense

of reason. In this case, the strategy may not ultimately have been successful, but it

was not unreasonable or constitutionally ineffective.

      17. Ineffective Assistance of Appellate Counsel

      Defendant raises seven grounds for relief that are directly related to the

performance of appellate counsel (Grounds 3, 59, 64, 70, 71, 73, and 78). He

contends generally that appellate counsel provided constitutionally deficient

assistance in preparing the direct appeal, failed to pursue claims that Defendant

wanted pursued on appeal, and failed to pursue removal of District Judge Roger

Vinson from the appellate panel who reviewed his case.

      Due process of law requires that a defendant receive effective assistance of

appellate counsel on his direct appeal. Evitts v. Lucey, 469 U.S. 387, 396 (1985).

However, the Sixth Amendment does not require appellate advocates to raise every

non-frivolous issue on appeal if counsel, as a matter of professional judgment,

decides not to do so. Smith v. Robbins, 528 U.S. 259, 287–88 (2000); Knowles v.

Mirzayance, 556 U.S. 111, 126–27 (2009); Jones v. Barnes, 463 U.S. 745, 751–52


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(1983); Heath v. Jones, 941 F.2d 1126, 1130–31 (11th Cir. 1991). It is possible to

bring a Strickland claim based on counsel’s failure to raise a particular claim, but it

is difficult to demonstrate in such a situation that counsel’s performance was

constitutionally ineffective. Smith, 528 U.S. at 288 (citing Gray v. Greer, 800 F.2d

644, 646 (7th Cir. 1986) (“Generally, only when ignored issues are clearly stronger

than those presented, will the presumption of effective assistance of counsel be

overcome”)); see also Payne v. United States, 566 F.3d 1276, 1277 (11th Cir. 2009)

(citing Smith).     “Experienced advocates since time beyond memory have

emphasized the importance of winnowing out weaker arguments on appeal and

focusing on one central issue if possible, or at most on a few key issues.” Barnes,

463 U.S. at 751–52. In fact, this is the “hallmark of effective appellate advocacy.”

Smith v. Murray, 477 U.S. 527, 536 (1986). The mere fact that one of the non-

appealed issues might have been successful does not preclude a finding that

counsel’s performance, which must be judged in its entirety, was effective. Id.;

Heath, 941 F.2d at 1131 (counsel’s appellate advocacy must be judged in its

entirety); Reutter v. Secretary for Dept. of Corrections, 232 F. App’x 914, 917 (11th

Cir. 2007) (citing Heath). Of course, appellate counsel is not ineffective for failing

to raise claims that are reasonably considered to be without merit. Brown v. United


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States, 720 F.3d 1316, 1335 (11th Cir. 2013); Shere v. Sec'y Fla. Dep't of Corr., 537

F.3d 1304, 1311 (11th Cir. 2008); United States v. Nyhuis, 211 F.3d 1340, 1344

(11th Cir. 2000) (citing Alvord v. Wainwright, 725 F.2d 1282, 1291 (11th Cir.

1984)).

      Defendant’s appellate attorney adopted arguments made by co-Defendants in

their briefs, as well as making arguments relevant only to Defendant, including a

challenge to the introduction of evidence regarding Defendant’s past sexual abuse

of children. A review of the thorough appellate opinion in this case, which resulted

in two counts of conviction being vacated, does not suggest ineffective appellate

advocacy in this case. The Eleventh Circuit found several arguments Defendant

raised to be significant enough to warrant discussion, although they were ultimately

decided adversely to him after the court found either no error or harmless error. See,

e.g., McGarity, 669 F.3d at 1237–38, 1240–42, 1245–47, 1247–51, 1255–57.

Furthermore, as evidenced by the discussion in the foregoing sections, Defendant

did not have any other issues of arguable merit, much less any sure fire winners.

His suggestion that appellate counsel should have raised up to a dozen additional

issues on appeal in the limited space allotted is simply unreasonable. As noted by

the Eleventh Circuit in its orders denying Defendant’s motion to proceed pro se, “it


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is counsel’s obligation, not Appellant’s, to determine the meritorious issues to be

raised on appeal” (citing United States v. Burke, 257 F.3d 1321 (11th Cir. 2001)),

and a defendant “does not have a constitutional right to compel counsel to press

nonfrivolous points if counsel, as a matter of professional judgment, decides not to

present those points” (ECF No. 1116-1 at 26–27, 41). Defendant has not shown

that appellate counsel’s performance, taken as a whole, was constitutionally

ineffective, given the confessions and the “overwhelming” evidence presented at

trial. McGarity, 669 F.3d at 1231, 1242–43, 1246.

      As a final note, the undersigned addresses Defendant’s contention that Senior

District Judge Roger Vinson was somehow biased against him, merely due to the

fact that he sits in the same court as Senior District Judge Lacey Collier, the trial

judge in this case. Defendant has not shown that counsel was constitutionally

ineffective for his failure to move to recuse Judge Vinson from the appellate panel.

His assertion of bias is utterly conclusory. Furthermore, in light of the repeated

conclusion by the Eleventh Circuit that the evidence in this case was overwhelming,

Defendant cannot show that the result of the appellate proceeding would have been

different had counsel filed a motion for Judge Vinson’s recusal and had such a

motion been granted.


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       Conclusion

       For all of the foregoing reasons, the court finds that Defendant has failed to

show that any of the claims raised in his motion to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. ' 2255 have merit.            Nor has he shown that an

evidentiary hearing is warranted. Therefore Defendant=s motion should be denied

in its entirety.

                           Certificate of Appealability

       Rule 11(a) of the Rules Governing Section 2255 Proceedings provides that

A[t]he district court must issue or deny a certificate of appealability when it enters a

final order adverse to the applicant,@ and if a certificate is issued Athe court must state

the specific issue or issues that satisfy the showing required by 28 U.S.C.

' 2253(c)(2).@ A timely notice of appeal must still be filed, even if the court issues

a certificate of appealability. Rule 11(b), ' 2255 Rules.

       After review of the record, the court finds no substantial showing of the denial

of a constitutional right. ' 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483B84




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(2000) (explaining how to satisfy this showing) (citation omitted). Therefore, it is

also recommended that the court deny a certificate of appealability in its final order.

       The second sentence of Rule 11(a) provides: ABefore entering the final order,

the court may direct the parties to submit arguments on whether a certificate should

issue.@ If there is an objection to this recommendation by either party, that party

may bring this argument to the attention of the district judge in the objections

permitted to this report and recommendation.

       Based on the foregoing, it is respectfully RECOMMENDED:

       1.    Defendant’s Motion to Vacate, Set Aside or Correct Sentence (ECF No.

1040) be DENIED.

.      2.    A certificate of appealability be denied.

       At Pensacola, Florida, this 20th day of October 2016.



                                 /s/ Elizabeth M. Timothy
                                 ELIZABETH M. TIMOTHY
                                 CHIEF UNITED STATES MAGISTRATE JUDGE




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                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be
filed within fourteen (14) days after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon all other
parties. If a party fails to object to the magistrate judge's findings or
recommendations as to any particular claim or issue contained in a report and
recommendation, that party waives the right to challenge on appeal the district
court's order based on the unobjected-to factual and legal conclusions. See
11th Cir. Rule 3-1; 28 U.S.C. § 636.




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